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                                                          Order Filed on October 18, 2019
                                                          by Clerk U.S. Bankruptcy Court
                                                              District of New Jersey




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